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17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
                                        )
21    WHATSAPP LLC and                  )          Case No. 4:19-cv-07123-PJH
      META PLATFORMS, INC., a Delaware  )
22    corporation,                      )          DECLARATION OF MICAH G. BLOCK
                                        )          IN SUPPORT OF PLAINTIFFS’
23
                      Plaintiffs,       )          OPPOSITION TO DEFENDANTS’
24                                      )          MOTION FOR SUMMARY JUDGMENT
             v.                         )          OR PARTIAL SUMMARY JUDGMENT
25                                      )
      NSO GROUP TECHNOLOGIES LIMITED )              Date: November 7, 2024
26    and Q CYBER TECHNOLOGIES LIMITED, )           Time: 1:30 p.m.
                                        )           Ctrm: 3
27
                      Defendants.       )           Judge: Hon. Phyllis J. Hamilton
28                                      )           Action Filed: October 29, 2019
                                     [REDACTED VERSION]
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 1          I, Micah G. Block, declare as follows:
 2          1.      I am an attorney licensed to practice law in the state of California and am admitted
 3   to practice before this Court. I am a partner at Davis Polk & Wardwell LLP, counsel for Plaintiffs
 4   WhatsApp LLC and Meta Platforms, Inc. in the above-captioned matter. I submit this declaration in
 5   support of the Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment or Partial
 6   Summary Judgment. I am personally familiar with the legal proceedings in this matter and make
 7   this declaration from my own personal knowledge, and I could and would competently testify to the
 8   following if called upon to do so.
 9          2.      Attached hereto as Exhibit 1 is a true and correct excerpt of the deposition transcript
10   of Jonathan Lee, taken in this case on September 25, 2024.
11          3.      Attached hereto as Exhibit 2 is a true and correct excerpt of the deposition transcript
12   of Carl Woog, taken in this case on August 14, 2024.
13          4.      Attached hereto as Exhibit 3 is a true and correct excerpt of the deposition transcript
14   of Claudiu Gheorghe, taken in this case on August 16, 2024.
15          5.      Attached hereto as Exhibit 4 is a true and correct excerpt of the deposition transcript
16   of Jesus Barcons Palau, taken in this case on September 13, 2024.
17          6.      Attached hereto as Exhibit 5 is a true and correct excerpt of the deposition transcript
18   of Tamir Gazneli, taken in this case on September 4, 2024.
19          7.      Attached hereto as Exhibit 6 is a true and correct copy of Defendant NSO Group
20   Technologies Limited’s Supplemental Objections and Responses to Plaintiffs’ First Set of
21   Interrogatories Nos. 1-3, 6-9, dated September 13, 2024.
22          8.      Attached hereto as Exhibit 7 is a true and correct excerpt of the deposition transcript
23   of Ramon Eshkar, taken in this case on August 27, 2024.
24          9.      Attached hereto as Exhibit 8 is a true and correct copy of a December 5, 2018
25   WhatsApp exchange that third-party Joshua Shaner produced in this case with Bates numbers
26   SHANER_WHATSAPP_00001098 through SHANER_WHATSAPP_00001099. This document
27   was marked as exhibit 2007 at the deposition of Ramon Eshkar, taken in this case on August 27,
28                                                      1
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
     JUDGMENT OR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
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 1   2024.
 2           10.    Attached hereto as Exhibit 9 is a true and correct excerpt of the deposition transcript
 3   of Yaron Shohat, taken in this case on August 29, 2024.
 4           11.    Attached hereto as Exhibit 10 is a true and correct copy of a June 12, 2019
 5   WhatsApp exchange that third-party Joshua Shaner produced in this case with Bates numbers
 6   SHANER_WHATSAPP_00001513 through SHANER_WHATSAPP_00001515. This document
 7   was marked as Exhibit 2058 at the deposition of Joshua Shaner, taken in this case on September 17,
 8   2024.
 9           12.    Attached hereto as Exhibit 11 is a true and correct copy of a May 12, 2019
10   WhatsApp exchange that third-party Joshua Shaner produced in this case with Bates numbers
11   SHANER_WHATSAPP_00001489 through SHANER_WHATSAPP_00001490. This document
12   was marked as Exhibit 2039 at the deposition of Tamir Gazneli, taken in this case on September 4,
13   2024.
14           13.    Attached hereto as Exhibit 12 is a true and correct copy of a May 8, 2019 WhatsApp
15   exchange that third-party Joshua Shaner produced in this case with Bates numbers
16   SHANER_WHATSAPP_00001480 through SHANER_WHATSAPP_00001482.
17           14.    Attached hereto as Exhibit 13 is a true and correct copy of a version of WhatsApp
18   Terms of Service that Plaintiffs produced in this case with Bates numbers WA-NSO-00014825
19   through WA-NSO-00014836. This document includes the text “[l]ast modified: August 25, 2016.”
20           15.    Attached hereto as Exhibit 14 is a true and correct copy of a version of WhatsApp
21   Terms of Service that Plaintiffs produced in this case with Bates numbers WA-NSO-00195067
22   through WA-NSO-00195075. This document includes the text “[l]ast modified: January 28, 2020.”
23           16.    Attached hereto as Exhibit 15 is a true and correct copy of a document that Plaintiffs
24   produced in this case with Bates number WA-NSO-00166473.
25           17.    Attached hereto as Exhibit 16 is a true and correct copy of a document that
26   Defendants produced in this case with Bates numbers NSO_WHATSAPP_00008957 through
27   NSO_WHATSAPP_00008962. This document was marked as Exhibit 2033 at the deposition of
28   Tamir Gazneli, taken in this case on September 4, 2024.
                                                        2
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
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 1             18.   Attached hereto as Exhibit 17 is a true and correct copy of a January 31, 2018
 2   WhatsApp exchange that third-party Terrence DiVittorio produced in this case with Bates numbers
 3   DIVITTORIO_WHATSAPP_00000003 through DIVITTORIO_WHATSAPP_00000004.
 4             19.   Attached hereto as Exhibit 18 is a true and correct excerpt of the deposition
 5   transcript of Drew Robinson, taken in this case on September 19, 2024.
 6             20.   Attached hereto as Exhibit 19 is a true and correct copy of a document that Plaintiffs
 7   produced in this case with Bates numbers WA-NSO-00014771 through WA-NSO-00014772.
 8             21.   Attached hereto as Exhibit 20 is a true and correct copy of a document that Plaintiffs
 9   produced in this case with Bates numbers WA-NSO-00000019 through WA-NSO-00000020.
10             22.   Attached hereto as Exhibit 21 is a true and correct excerpt of a document that
11   Plaintiffs produced in this case with Bates numbers WA-NSO-00000023 through WA-NSO-
12   00000052.
13

14                            , listed at the top of pages -033, -034, and -035 of this exhibit, respectively,
15   are also contained in Exhibit 20                                                                which
16   is identified in the Declaration of Joseph D. Mornin in Support of Plaintiffs’ Opposition to
17   Defendants’ Motion to Dismiss, Dkt. No. 55-6, as the IP address of the California-based QuadraNet
18   server.
19             23.   Attached hereto as Exhibit 22 is a true and correct copy of a document that
20   Defendants produced in this case with Bates numbers NSO_WHATSAPP_00007959 through
21   NSO_WHATSAPP_00007960.
22             24.   Attached hereto as Exhibit 23 is a true and correct excerpt of a document that third-
23   party Jefferies Group LLC produced in this case with Bates numbers JEFF00000902 through
24   JEFF00000975, and that Plaintiffs reproduced to Defendants with Bates numbers WA-NSO-
25   00067661 through WA-NSO-00067734.
26             25.   Attached hereto as Exhibit 24 is a true and correct excerpt of a document that third-
27   party Jefferies Group LLC produced in this case with Bates numbers JEFF00001062 through
28   JEFF00001107 and that Plaintiffs reproduced to Defendants with Bates numbers WA-NSO-
                                                        3
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
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 1   00069802 through WA-NSO-00069847.
 2          26.     Attached hereto as Exhibit 25 is a true and correct excerpt of a document that third-
 3   party Jefferies Group LLC produced in this case with Bates numbers JEFF00007361 through
 4   JEFF00007418, and that Plaintiffs reproduced to Defendants with Bates numbers WA-NSO-
 5   00067809 through WA-NSO-00067866.
 6          27.     Attached hereto as Exhibit 26 is a true and correct excerpt of a document that third-
 7   party Francisco Partners produced in this case with Bates numbers FPM-00015812 through FPM-
 8   00015922.
 9          28.     Attached hereto as Exhibit 27 is a true and correct excerpt of the deposition
10   transcript of Joshua Shaner, taken in this case on September 17, 2024.
11          29.     Attached hereto as Exhibit 28 is a true and correct copy of a document that
12   Defendants produced in this case with Bates number NSO_WHATSAPP_00046430.
13          30.     Attached hereto as Exhibit 29 is a true and correct copy of a document that Plaintiffs
14   produced in this case with Bates numbers WA-NSO-00100526 through WA-NSO-00100527. This
15   document was marked as Exhibit 2023 at the deposition of Yaron Shohat, taken in this case on
16   August 29, 2024.
17          31.     Attached hereto as Exhibit 30 is a true and correct excerpt of the deposition
18   transcript of Terrence DiVittorio, taken in this case on September 18, 2024.
19          32.     Attached hereto as Exhibit 31 is a true and correct copy of a document that
20   Defendants produced in this case with Bates numbers NSO_WHATSAPP_00046461 through
21   NSO_WHATSAPP_00046462.
22          33.     Attached hereto as Exhibit 32 is a true and correct copy of a February 1, 2018
23   WhatsApp exchange that third-party Terrence DiVittorio produced in this case with Bates number
24   DIVITTORIO_WHATSAPP_00000123.
25          34.     Attached hereto as Exhibit 33 is a true and correct copy of a May 9, 2019 WhatsApp
26   exchange that third-party Joshua Shaner produced in this case with Bates numbers
27   SHANER_WHATSAPP_00001484 through SHANER_WHATSAPP_00001485. This document
28   was marked as Exhibit 2062 at the deposition of Joshua Shaner, taken in this case on September 17,
                                                        4
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
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 1   2024.
 2           35.    Attached hereto as Exhibit 34 is a true and correct copy of a January 20, 2018
 3   WhatsApp exchange that third-party Terrence DiVittorio produced in this case with Bates number
 4   DIVITTORIO_WHATSAPP_00000120.
 5           36.    Attached hereto as Exhibit 35 is a true and correct excerpt of the deposition
 6   transcript of Sarit Bizinsky Gil, taken in this case on September 6, 2024.
 7           37.    Attached hereto as Exhibit 36 is a true and correct copy of a document that
 8   Defendants produced in this case with Bates number NSO_WHATSAPP_00000176. This
 9   document was marked as Exhibit 2009 at the deposition of Ramon Eshkar, taken in this case on
10   August 27, 2024.
11           38.    Attached hereto as Exhibit 37 is a true and correct copy of a document that third-
12   party E-Tel produced in this case with Bates numbers E-Tel0000086 through E-Tel0000088. This
13   document was marked as Exhibit 2050 at the deposition of Joshua Shaner, taken in this case on
14   September 17, 2024.
15           39.    Attached hereto as Exhibit 38 is a true and correct copy of a document that third-
16   party Westbridge Technologies Inc. produced in this case with Bates numbers
17   WESTBRIDGE_WHATSAPP_00003697 through WESTBRIDGE_WHATSAPP_00003705. This
18   document was marked as Exhibit 2051 at the deposition of Joshua Shaner, taken in this case on
19   September 17, 2024.
20           40.    Attached hereto as Exhibit 39 is a true and correct copy of an excel spreadsheet that
21   Defendants produced in this case with Bates number NSO_WHATSAPP_00045858. This
22   document was marked as Exhibit 2045 at the deposition of Sarit Bizinsky Gil, taken in this case on
23   September 6, 2024.
24           41.    Attached hereto as Exhibit 40 is a true and correct copy of a document that Plaintiffs
25   produced in this case with Bates numbers WA-NSO-00192007 through WA-NSO-00192017.
26           42.    Attached hereto as Exhibit 41 is a true and correct excerpt of an excel spreadsheet
27   that Plaintiffs produced in native form under a cover sheet with Bates number WA-NSO-00192176.
28   This excerpt is a print from the native file, after filtering to show only entries for which (1) the
                                                        5
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
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 1   “account_type” column has the value “attacker” or “NSO Group” and (2) the “deletion_reason”
 2   column has the value “purge.” In addition, for the “last_active,” “registration” and “deletion_time”
 3   columns, the excerpt selects a “Format Cells” option that displays the contents of those columns as
 4   dates.
 5            43.    Attached hereto as Exhibit 42 is a true and correct excerpt of an excel spreadsheet
 6   that Plaintiffs produced in native form under a cover sheet with Bates number WA-NSO-00192176.
 7   This excerpt is a print from the native file, after filtering to show only entries for which the
 8   “account_type” column has the value “attacker.” In addition, for the “last_active,” “registration”
 9   and “deletion_time” columns, the excerpt selects a “Format Cells” option that displays the contents
10   of those columns as dates.
11            44.    Attached hereto as Exhibit 43 is a true and correct copy of Defendants NSO Group
12   Technologies Limited and Q Cyber Technologies Limited’s Responses and Objections to Plaintiffs
13   WhatsApp, Inc. and Meta Platforms, Inc. fka Facebook, Inc.'s First Set of Requests for Admission,
14   dated April 17, 2023.
15            45.    Attached hereto as Exhibit 44 is a true and correct excerpt of a transcript of
16   testimony given by FBI Director Christopher Wray at a March 8, 2022 “Hearing on Annual
17   Worldwide Threats” before the Permanent Select Committee on Intelligence of the United States
18   House of Representatives. This transcript is available at
19   https://docs.house.gov/meetings/IG/IG00/20220308/114469/HHRG-117-IG00-Transcript-
20   20220308.pdf.
21            I declare under penalty of perjury that the foregoing is true and correct.
22            Executed on 11th of October, 2024, in Redwood City, California.
23
                                                          /s/ Micah G. Block
24
                                                          Micah G. Block
25

26

27

28
                                                        6
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
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